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                                                                             2022 Jul-15 AM 09:55
                                                                            U.S. DISTRICT COURT
                                                                                N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF ALABAMA
                        MIDDLE DIVISION

STATE OF ALABAMA, et al.,
    Plaintiffs,


v.                                         Case No. 4:22-cv-418-CLM


ALEJANDRO MAYORKAS, et al.,
    Defendants.


                                   ORDER

       The parties have jointly moved to stay all current deadlines in this case
pending resolution of an application for stay in related litigation currently
pending before the U.S. Supreme Court. (Doc. 14). The court GRANTS the
motion (doc. 14) and STAYS all pending case deadlines. The parties shall file
a joint status report and proposal for further proceedings no later than two
weeks after the Supreme Court rules on the government’s stay application in
United States v. Texas, 22A17.

      Done and Ordered on July 15, 2022.



                                  _________________________________
                                  COREY L. MAZE
                                  UNITED STATES DISTRICT JUDGE
